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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

                                             :
Katrice Ballard,                             :
                                             : Civil Action No.: ______
                    Plaintiff,               :
      v.                                     :
                                             :
Bluestem Brands, Inc. d/b/a Fingerhut,       : DEMAND FOR JURY TRIAL
                                             :
                    Defendant.               :
                                             :
                                             :

                        COMPLAINT & JURY DEMAND

      For this Complaint, Plaintiff, Katrice Ballard, by undersigned counsel, states

as follows:

                                   JURISDICTION
      1.      This action arises out of Defendant’s repeated violations of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

      2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that Defendant transacts business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.

                                       PARTIES
      3.      Plaintiff, Katrice Ballard (“Plaintiff”), is an adult individual residing

in East Point, Michigan, and is a “person” as defined by 47 U.S.C. § 153(39).
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       4.     Defendant Bluestem Brands, Inc. d/b/a Fingerhut (“Bluestem”), is a

Delaware business entity with an address of 7075 Flying Cloud Drive, Eden

Prairie, Minnesota 55344, and is a “person” as defined by 47 U.S.C. § 153(39).

                                         FACTS
       5.     In 2016, Bluestem began calling Plaintiff’s cellular telephone, number

586-xxx-9486, using an automatic telephone dialing system (“ATDS” or

“predictive dialer”) and/or using an artificial or prerecorded voice.

       6.     When Plaintiff answered calls from Bluestem, she heard a prerecorded

message.

       7.     On or about January 10, 2017, Plaintiff requested that all calls to her

cease immediately.

       8.     Nevertheless, Bluestem continued to place automated calls to

Plaintiff’s cellular telephone number.

                              COUNT I
             VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.
       9.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       10.    At all times mentioned herein, Defendant called Plaintiff’s cellular

telephone number using an ATDS or predictive dialer and/or using a prerecorded

or artificial voice.
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      11.    Defendant continued to place automated calls to Plaintiff’s cellular

telephone number despite knowing that it lacked consent to do so. As such, each

call placed to Plaintiff was made in knowing and/or willful violation of the TCPA,

and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

      12.    The telephone number called by Defendant was and is assigned to a

cellular telephone serviced by Metro PCS for which Plaintiff incurs charges

pursuant to 47 U.S.C. § 227(b)(1).

      13.    Plaintiff was annoyed, harassed and inconvenienced by Defendant’s

continued calls.

      14.    The calls from Defendant to Plaintiff were not placed for “emergency

purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).

      15.    Plaintiff is entitled to an award of $500.00 in statutory damages for

each call placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      16.    As a result of each call made in knowing and/or willful violation of

the TCPA, Plaintiff is entitled to an award of treble damages in an amount up to

$1,500.00 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                               PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

             A. Statutory damages of $500.00 for each violation determined to be

                   negligent pursuant to 47 U.S.C. § 227(b)(3)(B);
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            B. Treble damages for each violation determined to be willful and/or

               knowing pursuant to 47 U.S.C. § 227(b)(3)(C); and

            C. Such other and further relief as may be just and proper.

             TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: February 1, 2018
                                      Respectfully submitted,

                                      By: /s/ Sergei Lemberg, Esq.
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